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                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                   HUNTINGTON DIVISION

JONATHAN R., et al.,
                               Plaintiffs,
v.                                                       CIVIL ACTION NO. 3:19-cv-00710

JIM JUSTICE, et al.,
                               Defendants.

                                             ORDER

       Pending before the court is Defendants’ Motion to Amend the Scheduling Order to

Reschedule the Pretrial Conference. [ECF No. 652]. Plaintiffs oppose the motion. [ECF No. 653].

       Defendants’ counsel—attempting to comply with this district’s local rules—seeks to

change the date of the pretrial conference because he has a long-standing family conflict. [ECF

No. 652]. Defendants’ counsel offered a number of alternative dates to Plaintiffs’ counsel to

collegially resolve the scheduling issue, all of which Plaintiffs’ counsel summarily rejected. This

failure to find an amicable solution is discouraging. For good cause shown and while the court

continues to consider the Defendants’ Motion for Summary Judgment, Defendants’ Motion to

Amend the Scheduling Order is GRANTED.

       The new dates are as followed: the pretrial conference will be set for Tuesday, April 14,

2025, at 10:00 a.m.; proposed findings of fact and conclusions of law are due by April 24, 2025;

and the bench trial will begin on Tuesday, May 6, 2025, at 9:00 a.m. The parties are encouraged

to work together if future scheduling conflicts arise.

       The court DIRECTS the Clerk to send a copy of this Order to counsel of record and any

unrepresented party.

                                              ENTER:          January 29, 2025
